Case: 1:22-cv-00204-MRB-SKB Doc #: 34-1 Filed: 01/25/23 Page: 1 of 2 PAGEID #: 436



   From:                Nate Rose
   To:                  iama\askan@gmail.com
   Cc:                  Dawn Frick
   Subject:             Video - Document 20-1; 1:22-cv-00204 Decastro v. Wagner
   Date:                Monday, January 23, 2023 9:07:46 AM
   Attachments:          #20-1 USS Drive.odf
                        imageOOl png


   Mr. Decastro,

  Attached as an exhibit to your Amended Complaint was a USS drive containing a video of the
   incident at issue. I have attached a screenshot of the USS drive for your convenience. However, we
   were never served with a copy of that USS drive. Accordingly, I must request that you provide us
   with a copy of the video via email. Otherwise, we may be forced to file for an extension of time until
   you have properly served us with a copy of the video.

   Best regards,


   Nate

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                                                                                                Exhibit A
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